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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALI RAZAK, KENAN SABANI, AND
KHALDOUN CHERDOUD,
                                                       Civil Action No. 2:16-CV-00573-MMB
                   Plaintiffs,
                                                       Judge Michael M. Baylson
       v.

UBER TECHNOLOGIES, INC. AND
GEGEN LLC,

                   Defendants.


                        DEFENDANTS’ PRETRIAL MEMORANDUM

       Defendants Uber Technologies, Inc. and Gegen LLC (collectively, “Defendants”), by and

through undersigned counsel, and pursuant to the Court’s Report of Final Pretrial Conference (ECF

No. 153), hereby submits the following Pretrial Memorandum.

I.     NATURE OF ACTION AND BASIS OF JURISDICTION.

       Plaintiffs Ali Razak, Kenan Sabani, and Khaldoun Cherdoud (collectively “Plaintiffs”)

assert claims against Defendants pursuant to the Fair Labor Standards Act (FLSA), Pennsylvania

Minimum Wage Act (PMWA), and Pennsylvania Wage Payment and Collection Law (WPCL).

Plaintiffs’ claims present a federal question, and as a result, this Court has jurisdiction.

II.    COUNTER-STATEMENT OF FACTS.

       Plaintiffs own and operate successful limousine companies, with fleets of up to 16 vehicles

and more than a dozen drivers. Although they generate business in a variety of ways – including

online advertising, bookings through 24-hour service numbers, and referrals from local hotels –

they brought this action against Defendants alleging that they are Defendants’ employees under

the FLSA, PMWA, and WPCL, because they use the Uber mobile smartphone application as one

of several tools for connecting with riders.
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       A.         Uber Is A Technology Company.

       Uber is a technology company that invents, develops, markets, and licenses software that

facilitates connections between users on its Mobility, Delivery, and Freight platforms. The core of

Uber’s business is its technology that facilitates multi-sided platforms. Uber has spent billions of

dollars to develop, expand, and deploy its technology products, and it employs thousands of people

in technology-centric roles, such as software engineers and data scientists.

       B.         Uber’s Driver and Rider Apps Facilitate Connections Between Riders and
                  Transportation Providers.

       One of Uber’s platforms provides matching services that enables individuals who want

personal transportation services (“riders”) to request transportation services from those engaged in

the business of providing transportation services (“drivers”). Uber’s Rider App offers riders an

opportunity to request different transportation options that vary in type and cost. The option known

as “UberBLACK” enables riders to connect with transportation providers who drive luxury

vehicles. For a driver to have access to use the UberBLACK platform, the driver’s car must meet

certain luxury standards, the driver must have commercial auto insurance—separate from personal

auto insurance—and the driver must have all permits required by their city to operate a commercial

livery vehicle.

       Uber’s Mobility platform provides a variety of services to both riders and drivers, including

matching services, pricing suggestions based on dynamic supply and demand, payment processing,

safety measures, and a 360-degree star rating system for both riders and drivers, among other

things. Both riders and drivers pay Uber to use its software—drivers pay a Service Fee, and riders

pay a Booking Fee. To use the software, drivers log on to Uber’s Driver App. After logging on,

drivers can go “online” to receive trip requests when available, which the drivers are free to accept

or decline.



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       Uber itself is not in the business of providing transportation services in Philadelphia. Uber

does not employ individuals to provide transportation services in Philadelphia, and it does not

contract with riders to guarantee them transportation services in Philadelphia. If no driver accepts

a rider’s trip request, it will go unfulfilled, as Uber cannot require any driver to accept a trip and

does not employ any drivers.

       C.      Agreements Confirm The Independent Contractor Status Of Independent
               Transportation Companies And Drivers.

       Independent transportation companies who desire to use Uber’s Driver App to obtain

requests to provide transportation services on UberBLACK must first enter into a services

agreement with Uber that sets forth the relationship between them. Pursuant to the agreement, the

independent transportation companies are Uber’s customers who contract with Uber (in its

capacity as a technology services provider) for the opportunity to use Uber’s technology.

       The services agreement makes clear that the independent transportation companies and the

drivers that contract with them: (a) are not controlled or directed by Uber (generally or in the

provision of transportation services); (b) retain the sole right to determine when, where, and for

how long they will use Uber’s Driver App; (c) retain the option to accept or ignore a rider’s request

for transportation services at their discretion, or even to cancel an accepted request; and (d) have

the complete freedom to operate their independent businesses at their own discretion, including to

provide transportation services at any time to any third party separate and apart from Uber’s Driver

App (including the right to provide transportation services to private customers and to use other

software applications to obtain trip requests). Finally, the agreements confirm that the relationship

between the parties is that of “independent contracting parties” and that Uber is not the employer

of the independent transportation companies or their drivers.




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       Once a transportation company has entered into an agreement with Uber, drivers engaged

by that transportation company may use Uber’s Driver App after they agree to the terms of a “driver

addendum” to the services agreement. The driver addendum confirms, among other things, that

Uber does not direct or control the driver in the provision of transportation services, including

when, where, or for how long the driver will utilize Uber’s Driver App.

       D.      Uber Does Not Control Independent Transportation Companies Or Drivers.

       Drivers using Uber’s Driver App control the manner in which they provide services to

riders. Drivers control and determine when they provide rides, where they provide rides, how long

they will use Uber’s Driver App, when they stop using Uber’s Driver App, and how long they will

take between sessions using Uber’s Driver App. Uber does not schedule start or stop times for

drivers, or require them to be online on Uber’s Driver App at any particular time or for any specific

number of hours. Drivers choose when to go online based on their own interests and motivations,

and each driver “schedules himself.”

       In addition to choosing when to go online, “drivers independently decide where to go”

while online. Uber does not place any restrictions on drivers’ ability to engage in personal activities

while online, and Plaintiffs have, in fact, engaged in a range of personal activities while online.

For example, while online, Plaintiffs slept, ran personal errands, conducted business for their

independent transportation companies (including sending e-mails promoting their companies,

accepting rides from private clients, and dispatching private trips to other drivers), smoked

cigarettes, took personal phone calls, and rejected trip requests because they were tired.

       In addition, drivers “are permitted to work for competing companies” while also using

Uber’ Driver App. Uber does not prohibit drivers from using other applications in addition to

Uber’s Driver App or from providing transportation services to others outside Uber’s Driver App.




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Indeed, Plaintiffs regularly provided transportation services to riders outside Uber’s Driver App,

including riders identified through a company known as Blacklane, as well as from advertising

and private referrals. As noted above, Uber does not require drivers to accept trip requests, and

drivers are free to reject trip requests for any reason (and to cancel trip requests after accepting

them).

         Further, Uber does not require the drivers to follow any specific script when interacting

with passengers, require them to provide items like chargers or water to riders, require that they

take any specific route, or require that they work any particular region or area of the city. In fact,

drivers have no supervisor and do not report to anyone at Uber.

         E.     Plaintiffs Own And Operate Transportation Companies.

         Luxe Limousine Services, Inc. (“Luxe”), Freemo Limo, LLC (“Freemo”), and Milano

Limo, Inc. (“Milano”) are business entities owned and operated by the Plaintiffs. Specifically,

Razak was co-owner of Luxe; Sabani owns Freemo; and Cherdoud owns Milano. Transportation

providers who use Uber’s Driving App for matching services are free to operate their own businesses

outside of the UberBLACK platform.

                1.     Razak’s Ownership And Operation Of Luxe Limousine Services, Inc.

         Plaintiff Ali Razak and his brother own Luxe. Incorporated in 2012, Luxe is in the

transportation business, and it has its own certificate from the Pennsylvania Public Utility

Commission (PUC) to provide black car transportation services. Luxe’s PUC certificate

contemplates that Luxe will provide hourly-rate services, as well as fixed-fee black car services for

special events such as weddings and proms.

         After determining that increasing the size of its fleet would be “good business,” Luxe

expanded its fleet from two vehicles to six vehicles in 2015.




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        As business owners, Plaintiffs are permitted to hire sub-contractors or other “helpers” to

earn income as transportation providers using their vehicles, and it is Plaintiffs’ businesses that are

paid as a result, not the helpers. Luxe’s goal is to have one driver assigned to each of its vehicles.

The number of drivers on Luxe’s active roster varied from week to week and has been as high as

seventeen drivers at one time. From its inception through May 12, 2017, Luxe has had more than

fifty drivers.

        Luxe charged its drivers a weekly lease payment amount for the use of its vehicles and

generates revenues from the weekly lease payments paid by drivers. In fact, these weekly lease

payments are the primary source of revenue for Luxe.

        Luxe’s business model contemplates that it will lease the vehicles in its fleet to other drivers

at a weekly lease amount that will exceed Luxe’s expenses associated with maintaining the

vehicles (e.g., finance payments, insurance payments, repairs and maintenance, oil changes, etc.),

and that this excess amount will represent Luxe’s profit from the operation of its business

enterprise. By acquiring more vehicles, it was Luxe’s objective to generate more revenue by having

more drivers pay more leases. In setting the lease amounts, Luxe took into account market

conditions and seeks to cover expenses, attract drivers and make a profit.

        In addition to owning and operating Luxe with his brother, Razak also leased a vehicle

from Luxe. Of note, Razak did not sign up to use Uber’s Driver App to connect with riders using

UberBLACK until July 8, 2014, two years after Luxe was incorporated.

        Luxe’s drivers generate revenue by providing transportation services to riders identified

from various lead generation sources, including—but not limited to—Uber’s Driver App. For

example, Luxe gave its drivers the opportunity to provide transportation services through a

company known as Blacklane. When Luxe received transportation requests from Blacklane, Razak




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or his brother accepted the Blacklane request on behalf of Luxe and then assigned rides to another

driver on Luxe’s active roster. By dispatching Luxe drivers to handle Blacklane trips, Razak and

his brother generated additional revenue for Luxe’s business. Razak himself even provided

transportation services through Blacklane. More frequently, however, Razak’s job with respect to

Blacklane trip requests submitted to Luxe was that of dispatcher—assigning transportation

requests to other drivers on Luxe’s roster. After the trip was completed, Blacklane would pay Luxe,

and Luxe would pay the driver. When Luxe’s drivers provided transportation services to riders

they connected with using Blacklane or to private clients generated from Luxe’s own advertising,

the revenue from those trips did not benefit Uber in any way.

       In order to promote its business and generate its own leads outside of Blacklane or Uber’s

Driver App, Luxe advertised and developed an internet presence, including a website, a Facebook

account, and a Twitter account. According to the Luxe website:

               Our limo service was established back in 2012 with a dream to
               become the best transportation option state-wide. We set out to
               achieve this by offering our clientele the most luxurious, reliable and
               safe rides around town.

Potential customers could submit a booking request using the Luxe website or by emailing Luxe

directly. Luxe engaged an internet search engine optimization company to help Luxe improve its

web presence and to help generate leads. Luxe maintained its website at its expense and incurred

expenses associated with its internet presence and its advertising (e.g., Yelp and Google).

       When one of Luxe’s drivers provides transportation services (whether using Uber’s Driver

App, Blacklane, or any other lead generation source), the revenue from those services is paid to

Luxe. Luxe then pays its drivers (as independent contractors) from revenues generated from

providing transportation services.




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       In addition to paying its drivers and payroll clerk, Luxe incurs expenses in operating its

business and maintaining its fleet, including finance payments, insurance, oil changes and repairs,

towing expenses, maintenance, car washes, and other professional fees. Luxe even incurred

expenses sending Razak’s brother to Buffalo, Orlando, Miami and Tampa in order to investigate

opportunities for Luxe in expanding operations to those locations. In addition to Luxe incurring

expenses, Razak also incurs expenses in pursuing his transportation business that he writes off on

his personal taxes.

               2.      Sabani ’s Ownership And Operation Of Freemo Limo, LLC.

       Plaintiff Kenan Sabani began performing transportation services in Philadelphia with

another limousine company, Barry Limo, LLC. Sabani entered into a partnership agreement with

Barry Limo that entitled him to 50% ownership of a 2012 Chevrolet Suburban. Barry Limo

delegated to Sabani the responsibility for repair and maintenance costs on that vehicle. In addition,

Sabani paid payments to Barry Limo towards the purchase of the Chevrolet Suburban, and he now

owns the vehicle outright.

       In August 2015, Sabani formed his own limousine company—Freemo—to offer

transportation services to the public. Sabani is the sole owner of Freemo. In addition to owning

and operating Freemo, Sabani signed up to use Uber’s Driver App to connect with riders using

UberBLACK. Over the years, Sabani has received dispatches for private trips (including some

from Barry Limo and some from King Limousine) and has also provided transportation services

to riders identified using UberBLACK.

       When he formed Freemo, Sabani intended to form a company that would own vehicles and

lease them out to other drivers, thereby becoming a businessman who would make money by

collecting lease payments from drivers. Sabani’s goal was to run an independent business and




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eventually cease driving to focus on business management to live what he calls “the American

dream.”

       Sabani engaged up to four independent-contractor drivers (including himself and at times

Plaintiff Khaldoun Cherdoud) to provide transportation services for Freemo. Sabani determines

how much to pay Freemo’s drivers. Freemo’s drivers provide transportation services outside

Uber’s Driver App. Freemo also corresponded with private customers about pricing for airport and

local rides. Uber placed no restrictions on Sabani’s right to receive Freemo trip requests while

simultaneously online on Uber’s Driver App, and Sabani personally provided over 100 trips

through his company (outside Uber’s Driver App). In 2016, one of Freemo’s drivers provided

transportation services exclusively for Freemo’s private trips, and did not provide any services for

trip requests received through Uber’s Driver App. Freemo was paid in cash or using the Square

payment processing tool for trips its drivers performed outside Uber’s Driver App.

       Sabani created a website to advertise Freemo’s business and to generate private trip

requests. Freemo’s website states that it is “a privately held, full service chauffeured transportation

company.” According to the website, Freemo’s “fleet of vehicles [from “executive sedans to

luxury SUV’s”] and experienced chauffeurs [who “are required to attend a defensive driving

course” and “are monitored by GPS vehicle tracking”] can handle all of your transportation needs,

whether you’re with a Fortune 500 company or a family looking for airport transportation.”

Freemo’s website solicits customers to make reservations online, by email, or by calling a 24-hour

service contact number. Freemo has also advertised on Yelp and has a Facebook profile to promote

its business. In addition, Freemo has used “pay per click” on Google and distributed Freemo

business cards at hotels. Sabani and Freemo have incurred business expenses associated with their




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business activities, including vehicle maintenance (gas, tires, brakes, oil changes, car wash),

advertising, tolls and parking, and office equipment.

               3.      Cherdoud’s Ownership And Operation Of Milano Limo, Inc.

       Milano is a “sole proprietorship” that is owned by Cherdoud that provides transportation

services. In addition to owning and operating Milano, Cherdoud signed up to use Uber’s Driver

App to connect with riders using UberBLACK.

       Cherdoud started providing black car services outside Uber’s Driver App in 2016. At first,

Cherdoud worked with Freemo (Sabani’s company) to handle pre-arranged trips. Cherdoud

invested to purchase a GMC Yukon XL that he used to complete trip requests, and he has paid that

vehicle off in full. In addition, Cherdoud and Milano incurred unreimbursed business expenses in

support of their business, including phone, tolls and PPA vehicle inspections.

       Cherdoud found ways to promote his independent business, such as by parking near hotels

and negotiating with the doormen to have them direct hotel guests to him (even doing this while

online on Uber’s Driver App). Cherdoud receives trip requests from the hotel doormen, and he

uses a Square reader to charge the riders.

III.   DAMAGES.

       Defendants do not claim any damages.

IV.    WITNESSES.

       Defendants expect to call the following witnesses at trial:

 Witness            Subject                                           Contact Information

 Jordan             The Uber Application; Defendants’ agreements c/o Littler Mendelson, P.C.,
 Holtzman-          with Plaintiffs.                                 1601 Cherry Street Suite 1400
 Conston                                                             Philadelphia, PA 19102
                                                                     (267) 403-3000
 Brad               Uber’s business, including the Rides Marketplace c/o Littler Mendelson, P.C.,
 Rosenthal          and the records produced in discovery.           1601 Cherry Street Suite 1400



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                                                                        Philadelphia, PA 19102
                                                                        (267) 403-3000
Rachel Perl       Defendants’   operations       in    Philadelphia,    c/o Littler Mendelson, P.C.,
                  Pennsylvania.                                         1601 Cherry Street Suite 1400
                                                                        Philadelphia, PA 19102
                                                                        (267) 403-3000
Chad Dobbs        Uber’s business, including the Rides Marketplace      c/o Littler Mendelson, P.C.,
                  and Defendants’ operations in Philadelphia,           1601 Cherry Street Suite 1400
                  Pennsylvania.                                         Philadelphia, PA 19102
                                                                        (267) 403-3000
Plaintiff     Ali Plaintiff Razak’s claims; his interaction with and    c/o Pietragallo Gordon Alfano
Razak             use of the Uber Application; his business             Bosick & Raspanti, LLP
                  enterprises; his relationship with limousine,         1818 Market Street, Suite 3402,
                  taxicab, and ride-sharing companies; his use of       Philadelphia, PA 19103
                  transportation lead generation platforms;             (215) 988-1462
                  experiences providing transportation services;
                  agreements with Defendants; affiliations with Lichten & Liss-Riordan, P.C.
                  organizations related to his provision of 729 Boylston St. Suite 2000
                  transportation services.                           Boston, MA 02116
                                                                     (617) 994-5800

                                                                        Sacks Weston Diamond LLC
                                                                        1845 Walnut Street
                                                                        Suite 1600
                                                                        Philadelphia, PA 19103
                                                                        (215) 925-8200

Plaintiff         Plaintiff Sabani’s claims; his interaction with and   c/o Pietragallo Gordon Alfano
Kenan Sabani      use of the Uber Application; his business             Bosick & Raspanti, LLP
                  enterprises; his relationship with limousine,         1818 Market Street, Suite 3402,
                  taxicab, and ride-sharing companies; his use of       Philadelphia, PA 19103
                  transportation lead generation platforms;             (215) 988-1462
                  experiences providing transportation services;
                  agreements with Defendants.                           Lichten & Liss-Riordan, P.C.
                                                                        729 Boylston St. Suite 2000
                                                                        Boston, MA 02116
                                                                        (617) 994-5800

                                                                        Sacks Weston Diamond LLC
                                                                        1845 Walnut Street
                                                                        Suite 1600
                                                                        Philadelphia, PA 19103
                                                                        (215) 925-8200




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Plaintiff    Plaintiff Cherdoud’s claims; his interaction with     c/o Pietragallo Gordon Alfano
Khaldoun     and use of the Uber Application; his business         Bosick & Raspanti, LLP
Cherdoud     enterprises; his relationship with limousine,         1818 Market Street, Suite 3402,
             taxicab, and ride-sharing companies; his use of       Philadelphia, PA 19103
             transportation lead generation platforms;             (215) 988-1462
             experiences providing transportation services;
             agreements with Defendants.                           Lichten & Liss-Riordan, P.C.
                                                                   729 Boylston St. Suite 2000
                                                                   Boston, MA 02116
                                                                   (617) 994-5800

                                                                   Sacks Weston Diamond LLC
                                                                   1845 Walnut Street
                                                                   Suite 1600
                                                                   Philadelphia, PA 19103
                                                                   (215) 925-8200


Umer Razak   Plaintiff Razak’s business enterprises; Plaintiff     c/o Pietragallo Gordon Alfano
             Razak’s relationship with limousine, taxicab, and     Bosick & Raspanti, LLP
             ride-sharing companies; Plaintiff Razak’s use of      1818 Market Street, Suite 3402,
             transportation lead generation platforms; Plaintiff   Philadelphia, PA 19103
             Razak’s experiences providing transportation          (215) 988-1462
             services.
                                                                   Lichten & Liss-Riordan, P.C.
                                                                   729 Boylston St. Suite 2000
                                                                   Boston, MA 02116
                                                                   (617) 994-5800

                                                                   Sacks Weston Diamond LLC
                                                                   1845 Walnut Street
                                                                   Suite 1600
                                                                   Philadelphia, PA 19103
                                                                   (215) 925-8200




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Luxe              During the period of January 6, 2013, through        c/o Pietragallo Gordon Alfano
Limousine         January 11, 2018, Luxe Limousine Services,           Bosick & Raspanti, LLP
Services, Inc.,   Inc.’s (Luxe) business records; Luxe’s services      1818 Market Street, Suite 3402,
Corporate         and operations; independent contractors who          Philadelphia, PA 19103
Representative    have provided services to Luxe; Luxe’s               (215) 988-1462
& Custodian       employees; the nature and scope of the work or
of Records        services provided by or for the benefit of Luxe by
                  Plaintiffs; communications made by or to any
                  Plaintiffs in the course of their work or services
                  for Luxe; Luxe’s revenue and profit; Luxe’s
                  marketing and advertising efforts.




Freemo Limo,      During the period of January 6, 2013, through        c/o Pietragallo Gordon Alfano
LLC,              January 11, 2018, Freemo Limo, LLC’s (Freemo)        Bosick & Raspanti, LLP
Corporate         business records; Freemo’s services and              1818 Market Street, Suite 3402,
Representative    operations; independent contractors who have         Philadelphia, PA 19103
& Custodian       provided services to Freemo; Freemo’s                (215) 988-1462
of Records        employees; the nature and scope of the work or
                  services provided by or for the benefit of Freemo
                  by Plaintiffs; communications made by or to any
                  Plaintiffs in the course of their work or services
                  for Freemo; Freemo’s revenue and profit;
                  Freemo’s marketing and advertising efforts.


Milano Limo,      During the period of January 6, 2013, through        c/o Pietragallo Gordon Alfano
LLC,              January 11, 2018, Milano Limo, LLC’s (Milano)        Bosick & Raspanti, LLP
Corporate         business records; Milano’s services and              1818 Market Street, Suite 3402,
Representative    operations; independent contractors who have         Philadelphia, PA 19103
& Custodian       provided services to Milano; Milano’s                (215) 988-1462
of Records        employees; the nature and scope of the work or
                  services provided by or for the benefit of Milano
                  by Plaintiffs; communications made by or to any
                  Plaintiffs in the course of their work or services
                  for Milano; Milano’s revenue and profit;
                  Milano’s marketing and advertising efforts.




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V.       SCHEDULE OF EXHIBITS.

      NO.                       EXHIBIT                       BEG BATES     END BATES
                                                                  NO.           NO.
     D-11      UBER USA Technology Services                  UBER_RAZAK   UBER_RAZAK_
               Agreement (December 11, 2015)                 _00003740    00003762

      D-2      Zendesk Communication with A. Razak re:       UBER_RAZAK   UBER_RAZAK_
               Uber Philadelphia Airport Issues (April 2,    _00008124    00008128
               2016)

      D-3      Email Exchange b/t A. Razak and Uber          RAZAK_UBER   RAZAK_UBER_
               Partner Support re: Negative Feedback         _PL0000177   PL0000179
               Notification (January 17, 2016)

      D-5      Communication from Uber re: Airport and       UBER_RAZAK   UBER_RAZAK_
               Train Station Pickups                         _00001608    00001616

      D-6      Communication from Uber re: events in         UBER_RAZAK   UBER_RAZAK_
               Philadelphia                                  _00000116    00000118

      D-7      A. Razak map of all rejected trip requests    UBER_RAZAK   UBER_RAZAK_
               (7/16/2014-2/02/2017)                         _00010796    00010796

      D-8      A. Razak map of rejected trip requests near   UBER_RAZAK   UBER_RAZAK_
               home (7/16/2014-2/02/2017)                    _00010795    00010795

      D-9      Taxicab and Limousine Regulations             RAZAK_UBER   RAZAK_UBER_
               Overview                                      _PL0001270   PL0001275

     D-10      Philadelphia Parking Authority Limousine      RAZAK_UBER   RAZAK_UBER_
               Driver Certification Handbook                 _PL0001238   PL0001259

     D-11      Refugees are Welcome Here - Jan 29
               Protest Refugee Deportations at PHL -
               pictures, email (includes
               RAZAK_UBER_PL0001448)

     D-14      Uber record of trip cancellations 03/22/17
               and Candy Crush activity (includes
               RAZAK_UBER_PL0001417)



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    D-1 through D-129 are as marked on Plaintiffs’ deposition exhibits.


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D-15   PHL: Trip Charges Detail 2015-2017 for         RAZAK_UBER   RAZAK_UBER_
       Freemo Limo                                    _PL0000794   PL0000808

D-18   Zendesk ticket between K. Sabani and Uber      UBER_RAZAK   UBER_RAZAK_
       Support re: airport queue (April 20, 2016)     _00010718    00010721

D-20   K. Sabani map of all rejected trip requests    UBER_RAZAK   UBER_RAZAK_
       (12/15/2013-2/02/2017)                         _00010793    00010793

D-21   K. Sabani map of rejected trip requests near   UBER_RAZAK   UBER_RAZAK_
       home (12/15/2013-2/02/2017)                    _00010792    00010792

D-22   Screenshots of Freemo Limo’s website

D-23   Screenshots of Yelp page describing
       Freemo Limo

D-24   Partnership Agreement between K. Sabani        RAZAK_UBER   RAZAK_UBER_
       and M. Albari                                  _PL0000223   PL0000225

D-25   IRS Notification that Freemo Limo was
       assigned an employer identification number

D-26   K. Sabani’s January 28, 2017 trip record
       and social media post

D-28   K. Sabani’s online/offline time from
       12/21/15 to 12/22/15

D-29   K. Sabani’s online/offline time from
       12/23/15 to 12/25/15

D-32   K. Cherdoud map of all rejected trip           UBER_RAZAK   UBER_RAZAK_
       requests (12/31/2013-2/02/2017)                _00010790    00010790

D-33   K. Cherdoud map of rejected trip requests      UBER_RAZAK   UBER_RAZAK_
       downtown (12/31/2013-2/02/2017)                _00010789    00010789

D-34   Zendesk ticket between K. Cherdoud and         UBER_RAZAK   UBER_RAZAK_
       Uber support re: issues at Philadelphia        _00010635    00010635
       International Airport (April 2, 2016)

D-35   Milano Limo - Notice of Corporate
       Registration




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D-39   K. Cherdoud 02/11/16 trips w/attached
       phone records (including
       RAZAK_UBER_002771)

D-40   K. Cherdoud 01/01/16 trips w/attached
       phone records (including
       RAZAK_UBER_002748)

D-41   K. Cherdoud 01/22/16 trips w/attached
       phone records (including
       RAZAK_UBER_002761)

D-42   K. Cherdoud 12/19/15 trips w/attached
       phone records (including
       RAZAK_UBER_002743)

D-43   K. Cherdoud 02/20/16 trips w/attached
       phone records (including
       RAZAK_UBER_002775)

D-45   List of Luxe Drivers                         RAZAK_UBER   RAZAK_UBER_
                                                    _PL0006878   PL0006879

D-46   PA Dept of State Articles of Incorporation   RAZAK_UBER   RAZAK_UBER_
       for Luxe Limousine Services, Inc.            _PL0006858   PL0006859

D-47   PA Dept of State Bureau of Corporations      RAZAK_UBER   RAZAK_UBER_
       document re: Luxe Limousine w/ attached      _PL0006860   PL0006860
       Uber TSA (UBER_RAZAK_00003740-
       00003762)                                    UBER_RAZAK   UBER_RAZAK_
                                                    _00003740    00003762

D-48   Uber City Addendum – Philadelphia (July      UBER_RAZAK   UBER_RAZAK_
       2013)                                        _00003691    00003691

D-49   Luxe Limo 2015 Tax Returns                   RAZAK_UBER   RAZAK_UBER_
                                                    _PL0007006   PL0007036

D-50   2015 1099 from Luxe Limousine to A.          RAZAK_UBER   RAZAK_UBER_
       Razak                                        _PL0006856   PL0006856

D-51   Luxe Limo 2016 Tax Returns                   RAZAK_UBER   RAZAK_UBER_
                                                    _PL0007037   PL0007056




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D-52   2016 1099 from Luxe Limousine to A.         RAZAK_UBER   RAZAK_UBER_
       Razak                                       _PL0006857   PL0006857

D-53   2016 1099 forms from Luxe Limousine to      RAZAK_UBER   RAZAK_UBER_
       various recipients                          _PL0007463   PL0007494

D-56   Email between M. Rodriguez and A. Razak     RAZAK_UBER   RAZAK_UBER_
       regarding a Blacklane trip                  _PL0007503   PL0007504

D-57   Luxe Limousine Official Tariff              RAZAK_UBER   RAZAK_UBER_
                                                   _PL0007498   PL0007501

D-58   PUC Data Request and Luxe Limo Reply        RAZAK_UBER   RAZAK_UBER_
                                                   _PL0007495   PL0007497

D-59   Luxe Limousine Website Screenshots          RAZAK_UBER   RAZAK_UBER_
                                                   _PL0007432   PL0007440

D-60   Luxe Limousine on Facebook                  RAZAK_UBER   RAZAK_UBER_
                                                   _PL0007441   PL0007452

D-61   Luxe Limousine on Twitter and Yelp          RAZAK_UBER   RAZAK_UBER_
                                                   _PL0007453   PL0007462

D-62   Luxe Limousine Web Advertisement

D-63   QRG Direct - Internet Marketing for Luxe    RAZAK_UBER   RAZAK_UBER_
       Limousine (March and April 2017)            _PL0007505   PL0007526

D-64   QRG Direct - Internet Marketing for Luxe    RAZAK_UBER   RAZAK_UBER_
       Limousine (April 2017)                      _PL0006861   PL0006870

D-65   Google My Business screen shot for Luxe     RAZAK_UBER   RAZAK_UBER_
       Limousine                                   _PL0006871   PL0006871

D-66   Email from Blacklane re: Blacklane Driver   RAZAK_UBER   RAZAK_UBER_
       Registration (August 24, 2016)              _PL0007502   PL0007502

D-67   Email from AVI re Replacement of AVI        RAZAK_UBER   RAZAK_UBER_
       Sticker (June 16, 2017) and Suspension      _PL0007533   PL0007534
       Report

D-68   Monthly Statements from Blacklane           RAZAK_UBER   RAZAK_UBER_
                                                   _PL0006930   PL0006982




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    D-70    Uber Driver Addendum to TSA (December     UBER_RAZAK     UBER_RAZAK_
            11, 2015)                                 _00003692      00003698

    D-712   Excerpts from A. Razak’s 2015 Tax Returns RAZAK_UBER     RAZAK_UBER_
            with Redactions                           _PL0000184     PL0000187

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0000192     PL0000192

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0000207     PL0000210

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0000213     PL0000214

    D-72    2016 1099-MISC Corrected Form from        RAZAK_UBER     RAZAK_UBER_
            Luxe to A. Razak                          _PL0006857     PL0006857

    D-733   Excerpts from A. Razak’s 2016 Tax Returns RAZAK_UBER     RAZAK_UBER_
            with Redactions                           _PL0007107     PL0007107

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0007111     PL0007114

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0007131     PL0007131

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0007148     PL0007151

                                                      RAZAK_UBER     RAZAK_UBER_
                                                      _PL0007155     PL0007155

    D-77    Razak eBanking Statement from April 17,   RAZAK          RAZAK
            2015 to May 14, 2015                      UBER_PL00068   UBER_PL000684
                                                      34             1

    D-79    Philadelphia Limousine Association Home
            Facebook Page



2
  D-71 as marked in depositions included RAZAK_UBER_PL0000184 through
RAZAK_UBER_PL0000214 and RAZAK_UBER_PL0007106.
3
  D-73 as marked in depositions included RAZAK_UBER_PL0007107 through
RAZAK_UBER_PL0007155


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    D-81    PA Corporation Bureau Certificate of         RAZAK          RAZAK
            Organization Freemo Limo Inc                 UBER_PL00069   UBER_PL000695
                                                         56             7

    D-82    Public Utility Commission Application -      RAZAK          RAZAK
            Freemo Limo                                  UBER_PL00069   UBER_PL000695
                                                         58             8

    D-83    Freemo Limo LLC – 2016 Form 1099-            RAZAK          RAZAK
            MISC issued to Akram Anissi, Atip Sabani,    UBER_PL00074   UBER_PL000740
            and Milano Limo Inc.                         03             6

    D-84    Yelp Freemo Limo                             RAZAK          RAZAK
                                                         UBER_PL00074   UBER_PL000741
                                                         12             4

    D-85    Freemo Limo on Facebook                      RAZAK          RAZAK
                                                         UBER_PL00074   UBER_PL000742
                                                         15             2

    D-86    Email with K. Sabani re: Broad St Run May    RAZAK          RAZAK
            1st (March 17, 2016)                         UBER_PL00075   UBER_PL000754
                                                         41             2

    D-87    Emails with K. Sabani re: negotiations for   RAZAK          RAZAK
            lower fares (May 13, 2016)                   UBER_PL00075   UBER_PL000754
                                                         43             5

    D-89    Freemo Limo Sales Report August 10, 2015     RAZAK          RAZAK
            to May 10, 2017                              UBER_PL00069   UBER_PL000696
                                                         60             0

    D-904   Excerpts from K. Sabani’s 2014 Tax           RAZAK_UBER     RAZAK_UBER_
            Returns with Redactions                      _PL0000833     PL0000837

                                                         RAZAK_UBER     RAZAK_UBER_
                                                         _PL0000845     PL0000848

                                                         RAZAK_UBER     RAZAK_UBER_
                                                         _PL0000850     PL0000850



4
 D-90 as marked in depositions included RAZAK_UBER_PL0000833 through
RAZAK_UBER_PL0000854.


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                                                             RAZAK_UBER   RAZAK_UBER_
                                                             _PL0000852   PL0000852

                                                             RAZAK_UBER   RAZAK_UBER_
                                                             _PL0000854   PL0000854

    D-915   Excerpts from K. Sabani’s 2015 Tax               RAZAK_UBER   RAZAK_UBER_
            Returns with Redactions                          _PL0007156   PL0007156

                                                             RAZAK_UBER   RAZAK_UBER_
                                                             _PL0007160   PL0007164

                                                             RAZAK_UBER   RAZAK_UBER_
                                                             _PL0007179   PL0007182

    D-926   Excerpts from K. Sabani’s 2016 Tax               RAZAK_UBER   RAZAK_UBER_
            Returns with Redactions                          _PL0007185   PL0007185

                                                             RAZAK_UBER   RAZAK_UBER_
                                                             _PL0007189   PL0007196

                                                             RAZAK_UBER   RAZAK_UBER_
                                                             _PL0007213   PL0007216

    D-93    Internet article w/ A. Razak and K. Sabani
            (December 14, 2015)

    D-95    Certificate of Title for a Vehicle - M. Albari   RAZAK_UBER   RAZAK_UBER_
                                                             _PL0000221   PL0000221

    D-98    Emails with K. Sabani re: trips for King         RAZAK_UBER   RAZAK_UBER_
            Limousine                                        _PL0007535   PL0007536

    D-99    Emails with K. Sabani re: trips for Barry        RAZAK_UBER   RAZAK_UBER_
            Limousine                                        _PL0007537   PL0007540

    D-104   K. Sabani’s Linkedin account

    D-106   PA Corporation Bureau Articles of                RAZAK_UBER   RAZAK_UBER_
            Incorporation for Milano Limo                    _PL0006972   PL0006973


5
  D-91 as marked in depositions included RAZAK_UBER_PL0007156 through
RAZAK_UBER_PL0007184.
6
  D-92 as marked in depositions included RAZAK_UBER_PL0007185 through
RAZAK_UBER_PL0007218.


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    D-107    Milano Limo 2014 Tax Returns             RAZAK_UBER   RAZAK_UBER_
                                                      _PL0001312   PL0001337

    D-108    Milano Limo 2015 Tax Returns             RAZAK_UBER   RAZAK_UBER_
                                                      _PL0001340   PL0001366

                                                      RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007247   PL0007275

    D-109    Milano Limo 2016 Tax Returns             RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007276   PL0007298

    D-121    Car Payment Deductions for K. Cherdoud   RAZAK_UBER   RAZAK_UBER_
                                                      _PL0001385   PL0001385

    D-1227   Excerpts from K. Cherdoud’s 2013 Tax     RAZAK_UBER   RAZAK_UBER_
             Returns with Redactions                  _PL0007299   PL0007299

                                                      RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007303   PL0007307

                                                      RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007316   PL0007319

    D-1238   Excerpts from Cherdoud’s 2014 Tax        RAZAK_UBER   RAZAK_UBER_
             Returns with Redactions                  _PL0007320   PL0007320

                                                      RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007324   PL0007325

                                                      RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007339   PL0007340

                                                      RAZAK_UBER   RAZAK_UBER_
                                                      _PL0007342   PL0007343

    D-1249   Excerpts from Cherdoud’s 2015 Tax        RAZAK_UBER   RAZAK_UBER_
             Returns with Redactions                  _PL0001367   PL0001371


7
  D-122 as marked in depositions was RAZAK_UBER_PL0007299 -
RAZAK_UBER_PL0007319.
8
  D-123 as marked in depositions was RAZAK_UBER_PL0007320 -
RAZAK_UBER_PL0007343.
9
  D-124 as marked in depositions was RAZAK_UBER_PL0001368 -
RAZAK_UBER_PL0001384.


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                                                           RAZAK_UBER   RAZAK_UBER_
                                                           _PL0001381   PL0001382

     D-12510   Excerpts from Cherdoud’s 2016 Tax           RAZAK_UBER   RAZAK_UBER_
               Returns with Redactions                     _PL0007369   PL0007372

                                                           RAZAK_UBER   RAZAK_UBER_
                                                           _PL0007385   PL0007387

                                                           RAZAK_UBER   RAZAK_UBER_
                                                           _PL0007394   PL0007398

                                                           RAZAK_UBER   RAZAK_UBER_
                                                           _PL0007401   PL0007402

     D-126     Buyers Order for Car for K. Cherdoud        RAZAK_UBER   RAZAK_UBER_
                                                           _PL0000873   PL0000873

     D-129     PPA Taxicab and Limousine Division         RAZAK_UBER    RAZAK_UBER_
               Driver Certification Exam Letter (December _PL0000915    PL0000915
               20, 2013)



 D-131         Owner/Operator Agreement between Owner      UBER_RAZAK   UBER_RAZAK_
               and Gegen, LCC (March 2013)                 _0010879     0010895
 D-132         Driver Addendum Related to Uber Services    UBER_RAZAK   UBER_RAZAK_
               (December 2013)                             _00007833    00007835
 D-133         Software License and Online Services        UBER_RAZAK   UBER_RAZAK_
               Agreement (December 2013)                   _00007836    00007846
 D-134         Notice Regarding Dispute Resolution (June   UBER_RAZAK   UBER_RAZAK_
               20, 2014)                                   _00007034    00007052
 D-135         Driver Addendum Related to Uber Services    UBER_RAZAK   UBER_RAZAK_
               (June 20, 2014)                             _00007829    00007832
 D-136         Software License and Online Services        UBER_RAZAK   UBER_RAZAK_
               Agreement (June 21, 2014)                   _00001157    00001173
 D-137         Driver Addendum Related to Uber Services    UBER_RAZAK   UBER_RAZAK_
               (June 21, 2014)                             _00003736    00003739
 D-138         Software License and Online Services        UBER_RAZAK   UBER_RAZAK_
               Agreement (November 10, 2014)               _00003665    00003684



10
 D-125 as marked in depositions was RAZAK_UBER_PL0007369 -
RAZAK_UBER_PL0007402.



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D-139   Driver Addendum to Software License and              UBER_RAZAK   UBER_RAZAK_
        Online Services Agreement (November 10,              _00007823    00007828
        2014)
D-140   Software License and Online Services                 UBER_RAZAK   UBER_RAZ139
        Agreement (April 3, 2015)                            _00003716    AK_00003735
D-142   Accessibility Compliance Notification                UBER_RAZAK   UBER_RAZAK_
                                                             _00003280    00003282
D-143   Exact Target Communication re: Traveling             UBER_RAZAK   UBER_RAZAK_
        this weekend                                         _00000126    00000132
D-144   Exact Target Communication re: airport               UBER_RAZAK   UBER_RAZAK_
        zone                                                 _00000178    00000189
D-145   Exact Target Communication re: earn more             UBER_RAZAK   UBER_RAZAK_
        on weekdays                                          _00000246    00000249
D-146   Exact Target Communication re: demand                UBER_RAZAK   UBER_RAZAK_
                                                             _00000526    00000530
D-147   Exact Target Communication re: How does              UBER_RAZAK   UBER_RAZAK_
        Uber fit                                             _00000938    00000949
D-148   Mailchimp - Train Station Update                     UBER_RAZAK   UBER_RAZAK_
                                                             _00001553    00001559
D-149   A. Razak Trip History (UberBlack): Excel             UBER_RAZAK   UBER_RAZAK_
        spreadsheet with time of request, start and          _00002072*   00002072
        end time of trip, trip status, driver fare, driver
        rating, client feedback from July 16, 2014
        through December 13, 2016
D-150   A. Razak Trip History (UberBlack): Excel             UBER_RAZAK   UBER_RAZAK_
        spreadsheet with time of request, start and          _00008305*   00008305
        end time of trip, trip status, driver fare, driver
        rating, client feedback from July 16, 2014
        through February 7, 2017
D-151   A. Razak Trip History (UberP2P): Excel               UBER_RAZAK   UBER_RAZAK_
        spreadsheet with time of request, start and          _00008306*   00008306
        end time of trip, trip status, driver fare, driver
        rating, client feedback from May 1, 2015
        through May 31, 2015
D-152   A. Razak Trip History (combined): Excel              UBER_RAZAK   UBER_RAZAK_
        spreadsheet with start and end time of trip,         _0010798*    0010798
        trip status, driver fare, driver rating, client
        feedback from July 16, 2014 through April 7,
        2017
D-153   A. Razak Trip History (UberBlack): Excel             UBER_RAZAK   UBER_RAZAK_
        spreadsheet with online/offline times from           _0013474*    0013474
        February 7, 2017 through June 29, 2017
D-154   A. Razak Trip History (UberBlack): Excel             UBER_RAZAK   UBER_RAZAK_
        spreadsheet with time of request, start and          _0013475*    0013475
        end time of trip, trip status, driver fare, driver
        rating, client feedback from February 7, 2017


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        through June 30, 2017
D-155   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with time of request, start and end time of         _0014423*    0014423
        trip, trip status, driver fare from July 1, 2017
        through January 6, 2018
D-156   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with offer time, start and end time of trip, trip   _0014424*    0014424
        status, driver fare from June 30, 2017
        through January 6, 2018
D-157   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with app status change from July 1, 2017            _0014427*    0014427
        through January 6, 2018
D-158   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with online/offline times from July 1, 2017         _0014428*    0014428
        through January 6, 2018
D-159   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with online/offline times from July 16, 2014        _00005864*   00005864
        through December 2, 2016 (Profile 1)
D-160   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with online/offline times from May 1, 2015          _00005870*   00005870
        through July 4, 2015 (Profile 2)
D-161   A. Razak Trip History: Excel spreadsheet            UBER_RAZAK   UBER_RAZAK_
        with request time, start and end time of trip,      _00005871*   00005871
        trip status, driver fare, client rating and
        feedback from May 1, 2015 through May 31,
        2015 (P2P)
D-162   A. Razak record of Uber agreements          UBER_RAZAK           UBER_RAZAK_
                                                    _0014417             0014417
D-163   A. Razak record of Uber agreements (part 2) UBER_RAZAK           UBER_RAZAK_
                                                    _0014429             0014429
D-164   Excerpts from A. Razak’s 2017 Tax Return RAZAK_UBER              RAZAK_UBER
        with Redactions                             _PL0007601           _PL0007604
                                                    RAZAK_UBER           RAZAK_UBER
                                                    _PL0007617           _PL0007617
                                                    RAZAK_UBER           RAZAK_UBER
                                                    _PL0007624           _PL0007627
                                                    RAZAK_UBER           RAZAK_UBER
                                                    _PL0007630           _PL0007630
                                                    RAZAK_UBER           RAZAK_UBER
                                                    _PL0007632           _PL0007632
D-165   Luxe Limo 2017 Tax Returns                  RAZAK_UBER           RAZAK_UBER_
                                                    _PL0007642           PL0007664
D-167   A. Razak - Zendesk ride cancellation        UBER_RAZAK           UBER_RAZAK_
                                                    _00008073            00008074
D-168   Correspondence between A. Razak and Uber UBER_RAZAK              UBER_RAZAK_
        re: cleaning fee (May 29, 2016)             _00008270            00008271


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D-169   Correspondence between A. Razak and Uber     UBER_RAZAK     UBER_RAZAK_
        re: fair adjustment (October 18, 2016)       _00008302      00008302
D-170   Zendesk Communication with A. Razak re:      UBER_RAZAK     UBER_RAZAK_
        Negative Feedback Notification               _00008089      00008092
D-171   Zendesk Communication with A. Razak re:      UBER_RAZAK     UBER_RAZAK_
        Account Follow-up                            _00008161      00008163
D-172   Zendesk Communication with A. Razak re:      UBER_RAZAK     UBER_RAZAK_
        Citation                                     _00008196      00008198
D-173   A. Razak email to Uber re: removing UberX    RAZAK_UBER     RAZAK_UBER_
        account                                      _PL0000149     PL0000149
D-174   Email from Uber to A. Razak re: UberBlack    RAZAK_UBER     RAZAK_UBER_
        updates (August 18, 2015)                    _PL0000156     PL0000160
D-175   Email exchange between Uber and              RAZAK_UBER     RAZAK_UBER_
        kouibaa3@netzero.net (“Jamal”) re: account   _PL0006884     PL0006885
        issue
D-176   Email exchange between Uber and              RAZAK_UBER     RAZAK_UBER_
        kouibaa3@netzero.net (“Jamal”) re: reports   _PL0006886     PL0006888
        of inappropriate behavior
D-177   Email exchange between Uber and              RAZAK_UBER     RAZAK_UBER_
        kouibaa3@netzero.net (“Jamal”) re: fare      _PL0006889     PL0006893
        adjustment
D-178   Monthly Statements from Blacklane            RAZAK_UBER     RAZAK_UBER
                                                     _PL0006909     _PL0006929
                                                     RAZAK_UBER     RAZAK_UBER
                                                     _PL0006893     _PL0007005
                                                     RAZAK_UBER     RAZAK_UBER
                                                     _PL0006880     _PL0006893
                                                     RAZAK_UBER     RAZAK_UBER_
                                                     _PL0006928     PL0006931
                                                     RAZAK_UBER     RAZAK_UBER_
                                                     _PL0006934     PL0006952
D-179   Email from Blacklane re: Tour assignment –     RAZAK_UBER   RAZAK_UBER_
        19 Aug 2017                                    _PL0007527   PL0007528
D-180   Email from Blacklane re: Tour assignment –     RAZAK_UBER   RAZAK_UBER_
        31 May 2017                                    _PL0007530   PL0007531
D-182   Website information for Luxe Limo              RAZAK_UBER   RAZAK_UBER_
                                                       _PL0006872   PL0006877
D-183   K. Sabani Trip History: Excel spreadsheet UBER_RAZAK        UBER_RAZAK_
        with time of request, start and end time of _00002071*      00002071
        trip, trip status, driver fare, driver rating,
        client feedback for from December 15, 2013
        through December 12, 2016
D-185   K. Sabani Online Offline Status Report UBER_RAZAK           UBER_RAZAK_
        (UberP2P) from January 16, 2017 through _00008533*          00008533
        January 24, 2017



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D-186   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        (UberBlack account) with time of request,         _00010180*   00010180
        start and end time of trip, trip status, driver
        fare, driver rating, client feedback from
        December 15, 2013 through February 3,
        2017
D-187   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        (UberP2P account) with time of request, start     _00010181*   00010181
        and end time of trip, trip status, driver fare,
        driver rating, client feedback from January
        16, 2017 through January 24, 2017
D-184   K. Sabani Online Offline Status Report from       UBER_RAZAK   UBER_RAZAK_
        December 13, 2013 through December 2,             _0010787*    0010787
        2016
D-190   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        start and end time of trip, trip status, driver   _0010799*    0010799
        fare, driver rating, client feedback from
        December 13, 2013 through April 6, 2017
D-188   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        (UberP2P account) with online/offline status      _0013478*    0013478
        from January 24, 2017 through April 22,
        2017
D-189   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        (UberP2P account) with time of request, start     _0013490*    0013490
        and end time of trip, trip status, driver fare,
        driver rating, client feedback from January
        16, 2017 through March 23, 2017
D-191   K. Sabani Trip History (UberBlack account):       UBER_RAZAK   UBER_RAZAK_
        Excel spreadsheet online/offline time from        _0013836*    0013836
        February 3, 2017 through June 27, 2017
D-192   K. Sabani Trip History (UberBlack account):       UBER_RAZAK   UBER_RAZAK_
        Excel spreadsheet start and end time of trip,     _0014381*    0014381
        trip status, driver fare, driver rating, client
        feedback from February 3, 2017 through
        June 30, 2017
D-193   K. Sabani Trip History: Excel spreadsheet of      UBER_RAZAK   UBER_RAZAK_
        request time, start and end time of trip, trip    _0014387*    0014387
        status, driver fare from July 1, 2017 through
        January 11, 2018
D-194   K. Sabani Trip History: Excel spreadsheet of      UBER_RAZAK   UBER_RAZAK_
        time of offer, start and end time of trip, trip   _0014393*    0014393
        status from July 1, 2017 through January 11,
        2018
D-195   K. Sabani Trip History: Excel spreadsheet of      UBER_RAZAK   UBER_RAZAK_
        time online/offline times from July 1, 2017       _0014394*    0014394
        through January 11, 2018


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D-197   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        with online/offline status from July 24, 2017     _0014398*    0014398
        through January 11, 2018
D-196   K. Sabani Trip History: Excel spreadsheet of      UBER_RAZAK   UBER_RAZAK_
        status changes from June 30, 2017 through         _0014399*    0014399
        January 11, 2018
D-198   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        with time of offer, start and end time of trip,   _0014402*    0014402
        trip status from July 24, 2017 through
        January 10, 2018
D-199   K. Sabani Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        with time of offer, start and end time of trip,   _0014419*    0014419
        trip status from July 1, 2017 through January
        12, 2018
D-200   K. Sabani map of all rejected trip requests at    UBER_RAZAK   UBER_RAZAK_
        airport (12/15/2013-2/02/2017)                    _0010794     0010794
D-201   K. Sabani record of Uber agreements               UBER_RAZAK   UBER_RAZAK_
                                                          _0014396     0014396
D-202   K. Sabani’s 2017 Tax Returns                      RAZAK_UBER   RAZAK_UBER_
                                                          _PL0007633   PL 0007641
D-209   Receipt of car sale to K. Sabani                  RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000222   PL0000222
D-210   K. Sabani Expense Receipts                        RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000478   PL0000480

                                                          RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000482   PL0000485
                                                          RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000487   PL0000497
                                                          RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000500   PL0000501
                                                          RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000503   PL0000503
                                                          RAZAK_UBER   RAZAK_UBER_
                                                          _PL0000505   PL0000505
D-211   Email from Uber to K. Sabani re:                  RAZAK_UBER   RAZAK_UBER_
        maximizing earnings 4/24-4/27                     _PL0003953   PL0003955
D-212   Email from Uber to K. Sabani re:                  RAZAK_UBER   RAZAK_UBER_
        maximizing earnings 4/21-4/23                     _PL0003961   PL0003963
D-213   Email from Uber to K. Sabani re:                  RAZAK_UBER   RAZAK_UBER_
        maximizing earnings 4/17-4/20                     _PL0003964   PL0003966
D-214   Email from Uber to K. Sabani re:                  RAZAK_UBER   RAZAK_UBER_
        maximizing earnings 4/3-4/9                       _PL0003979   PL0003981
D-215   Email from Uber to K. Sabani re: weekly           RAZAK_UBER   RAZAK_UBER_
        summary May 2, 2016 – May 9, 2016                 _PL0004118   PL0004120



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D-216   Email from Uber to K. Sabani re: weekly             RAZAK_UBER   RAZAK_UBER_
        summary April 18, 2016 – April 25, 2016             _PL0004136   PL0004138
D-217   Email from Uber to K. Sabani re: Philly             RAZAK_UBER   RAZAK_UBER_
        Weekend Update                                      _PL0004297   PL0004299
D-218   Email from Uber to K. Sabani re: Increase           RAZAK_UBER   RAZAK_UBER_
        Earnings on Biggest Night to Drive                  _PL0004325   PL0004327
D-219   Email from Uber to K. Sabani re: New                RAZAK_UBER   RAZAK_UBER_
        Feature to Maximize Earnings                        _PL0004328   PL0004329
D-220   Email from Uber to K. Sabani re: busiest            RAZAK_UBER   RAZAK_UBER_
        places to drive on New Year’s Eve                   _PL0004337   PL0004338
D-221   Email from Uber to K. Sabani re: Philly             RAZAK_UBER   RAZAK_UBER_
        Weekend Update                                      _PL0004376   PL0004381
D-222   Email exchange between Uber and K. Sabani           RAZAK_UBER   RAZAK_UBER_
        re: trip and airport system (April 22, 2016)        _PL0004909   PL0004912
D-223   Email from Uber to K. Sabani re: weekly             RAZAK_UBER   RAZAK_UBER_
        driver summary                                      _PL0005186   PL0005189
D-224   Email exchange between Uber and K. Sabani           RAZAK_UBER   RAZAK_UBER_
        re: ratings and rider altercation                   _PL0005211   PL0005213
D-225   Email exchange between Uber and K. Sabani           RAZAK_UBER   RAZAK_UBER_
        re: report of rider                                 _PL0005316   PL0005317
D-226   Email from Uber to K. Sabani re: updates to         RAZAK_UBER   RAZAK_UBER_
        airport                                             _PL0005595   PL0005599
D-227   Zendesk ticket between K. Sabani and Uber           UBER_RAZAK   UBER_RAZAK_
        support re PPA sticker cost (August 26,             _0010669     0010670
        2016)
D-228   Zendesk ticket between Sabani and Uber              UBER_RAZAK   UBER_RAZAK_
        Support re: driver rating (April 8, 2016)           _0010722     0010740
D-229   K. Sabani - Zendesk ride cancellation               UBER_RAZAK   UBER_RAZAK_
                                                            _00008313    00008313
D-230   Freemo Limo, LLC website printouts                  RAZAK_UBER   RAZAK_UBER_
                                                            _PL0007423   PL00074231

D-231   K. Cherdoud Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        with start and end time of trip, trip status,       _0010797*    0010797
        driver fare, driver rating, client feedback
        from December 30, 2013 through April 7,
        2017
D-232   K. Cherdoud Trip History: Excel spreadsheet         UBER_RAZAK   UBER_RAZAK_
        with time of request, start and end time of         _00008034*   00008034
        trip, trip status, driver fare, driver rating,
        client feedback from December 31, 2013
        through February 7, 2017
D-233   K. Cherdoud Trip History (UberBlack                 UBER_RAZAK   UBER_RAZAK_
        Account): Excel spreadsheet with time of            _0013835*    0013835
        request, start and end time of trip, trip status,
        driver fare, driver rating, client feedback


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        from February 6, 2017 through June 28, 2017
D-234   K. Sabani Trip History: Excel spreadsheet       UBER_RAZAK    UBER_RAZAK_
        with app status changes from July 6, 2017       _0014397*     0014397
        through January 11, 2018
D-236   K. Cherdoud Trip History: Excel spreadsheet     UBER_RAZAK    UBER_RAZAK_
        with time online and offline from February 6,   _0014416*     0014416
        2017 through January 11, 2018
D-235   K. Cherdoud Trip History: Excel spreadsheet     UBER_RAZAK    UBER_RAZAK_
        with time of request, start and end time of     _0014421*     0014421
        trip, trip status, and fare from July 1, 2017
        through January 12, 2018
D-237   K. Cherdoud map of rejected trip requests at    UBER_RAZAK    UBER_RAZAK_
        airport (12/31/2013-2/02/2017)                  _0010788      0010788
D-238   K. Cherdoud map of rejected trip requests       UBER_RAZAK    UBER_RAZAK_
        near home (12/31/2013-2/02/2017)                _0010791      0010791
D-239   K. Sabani record of Uber agreements (part 2)    UBER_RAZAK    UBER_RAZAK_
                                                        _0014390      0014390
D-240   K. Cherboud record of Uber agreements           UBER_RAZAK    UBER_RAZAK_
                                                        _0014415      0014415
D-241   K. Cherdoud Signature Page on Operator          UBER_RAZAK    UBER_RAZAK_
        Agreement (June 18, 2014)                       _00001156     00001156
D-242   Excerpts from K. Cherboud’s 2017 Tax            RAZAK_UBER    RAZAK_UBER_
        Return with Redactions                          _PL0007557    PL0007560
                                                        RAZAK_UBER    RAZAK_UBER_
                                                        _PL0007575    PL0007578
                                                        RAZAK_UBER    RAZAK_UBER_
                                                        _PL0007582    PL0007583
D-243   2017 Milano Limo Tax Returns                    RAZAK_UBER    RAZAK_UBER_
                                                        _PL 0007584   PL 0007594
D-244   Milano Limo Inc. – 2016 Form 1099-MISC          RAZAK_UBER    RAZAK_UBER_
        issued to K. Cherdoud                           _PL0006970    PL0006971
D-247   Milano Limo – IRS letter re: EIN                RAZAK_UBER    RAZAK_UBER_
                                                        _PL0001310    PL0001311
D-248   K. Cherdoud Lease Agreement – December          UBER_RAZAK    UBER_RAZAK_
        30, 2013                                        _00001174     00001174
D-249   ZenDesk Ticket for K. Cherdoud re:              UBER_RAZAK    UBER_RAZAK_
        surcharge                                       _00007883     00007883
D-250   ZenDesk Ticket for K. Cherdoud re:              UBER_RAZAK    UBER_RAZAK_
        cancellation                                    _00007893     00007893
D-251   K. Cherdoud – Zendesk ride cancellation         UBER_RAZAK    UBER_RAZAK_
                                                        _00007903     00007903
D-252   Uber Community Guidelines                       UBER_RAZAK    UBER_RAZAK_
                                                        _0010186      0010234
D-253   Driver Deactivation Policy – US Only            UBER_RAZAK    UBER_RAZAK_
                                                        _0010235      0010258



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 D-254        A. Razak – Candy Crush Activity            RAZAK_UBER                 RAZAK_UBER_
                                                         _PL0001416                 PL0001721
 D-255        Driver Deactivation Policy – US Only (July UBER_RAZAK                 UBER_RAZAK_
              26, 2016)                                  _0015962                   0015966

VI.      DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ EXHIBITS AND WITNESSES

         On January 29, 2024, Defendants conferred with Plaintiffs regarding objections they had

to Plaintiffs’ exhibits on the basis of authenticity and admissibility and witnesses on the basis of

admissibility. The parties were unable to resolve the objections to Plaintiffs’ exhibits and witnesses

outlined herein.

         A.     Objections to Plaintiffs’ Witnesses

         Defendants object to Plaintiffs’ identification of “[o]ther UberBLACK drivers who worked

in the Philadelphia market between 2013 and 2018 and who were deactivated or suspended” on

the basis that this identification fails to comply with the Court’s order and is outside the limited

scope of the limited issues at trial. See Defendants’ forthcoming Motion In Limine Regarding

Scope of the Case.

         B.     Objections to Plaintiffs’ Exhibits

                                                               Agr
                                                        Agr
                                                               ee
  Exh                                                   ee
          Document                                             Ad
  ibit                     Bates No. or Dkt. No.        Aut           Basis of Objection
          Description                                          miss
  No.                                                   hent
                                                               ible
                                                        ic?
                                                               ?
          Gegen
          Owner/Operator   UBER_RAZAK_0000
  1                                                     Y      Y
          Agreement,       1174
          March 2013
          Uber City
          Addendum –       UBER_RAZAK_0000
  2                                                     Y      Y
          Philadelphia,    2050
          July 2013
          Gegen Annual
          Vehicle Lease    UBER_RAZAK_0001
  3                                                     Y      Y
          Agreement,       0879-10895
          Khaldoun



                                                   30
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      Cherdoud,
      December 30,
      2013
      Uber Software
      License and
                        UBER_RAZAK_0000
4     Online Services                          Y   Y
                        7836-7846
      Agreement,
      December 2013
      Driver
      Addendum
                        UBER_RAZAK_0000
5     Related to Uber                          Y   Y
                        7833-7835
      Services,
      December 2013
      Important
      Notice
      Regarding
                        UBER_RAZAK_0000
6     Dispute                                  Y   Y
                        7034-7052
      Resolution with
      Uber, June 20,
      2014
      Driver
      Addendum
                        UBER_RAZAK_0000
7     Related to Uber                          Y   Y
                        7829-7832
      Services, June
      20, 2014
      Uber Software
      License and
                        UBER_RAZAK_0000
8     Online Services                          Y   Y
                        1157-1173
      Agreement, June
      21, 2014
      Driver
      Addendum
                        UBER_RAZAK_0000
9     Related to Uber                          Y   Y
                        3736-3739
      Services, June
      21, 2014
      Uber Addendum
      for “Bring Your
      Own Device”       UBER_RAZAK_0000
10                                             Y   Y
      Program, Livery   2048-2049
      Version, August
      26, 2014
      Rasier Software
      License and
      Online Services   UBER_RAZAK_0000
11                                             Y   Y
      Agreement,        3646-3664
      November 10,
      2014




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      Uber Logistik,
      LLC Software
      License and
                        UBER_RAZAK_0000
12    Online Services                          Y   Y
                        3665-3684
      Agreement,
      November 10,
      2014
      Uber Driver
      Addendum to
      Software
      License and       UBER_RAZAK_0000
13                                             Y   Y
      Online Services   3685-3690
      Agreement,
      November 10,
      2014
      Uber USA, LLC
      Software
      License and       UBER_RAZAK_0000
14                                             Y   Y
      Online Services   3716-3735
      Agreement,
      April 3, 2015
      P2P Services
      Only – City
      Addendum –        UBER_RAZAK_0000
15                                             Y   Y
      Pennsylvania      5865-5866
      and New Jersey,
      July 1, 2015
      Uber
      Technology
      Services          UBER_RAZAK_0000
16                                             Y   Y
      Agreement,        3740-3762
      December 11,
      2015
      Uber Driver
      Addendum to
      Technology
                        UBER_RAZAK_0000
17    Services                                 Y   Y
                        3692-3698
      Agreement,
      December 11,
      2015
      P2P Services
      Only – Service
      Fee Addendum      UBER_RAZAK_0000
18                                             Y   Y
      – Philadelphia,   8537-8538
      PA, May 26,
      2016
      P2P Services
      Only – City       UBER_RAZAK_0000
19                                             Y   Y
      Addendum –        5867-5869
      Pennsylvania



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      and New Jersey,
      October 26,
      2016
      Razak Record of
      Uber                UBER_RAZAK_0014
20                                               Y   Y
      Agreements Part     417
      1
      Razak Record of
      Uber                UBER_RAZAK_0014
21                                               Y   Y
      Agreements Part     429
      2
      Sabani Record
                          UBER_RAZAK_0014
22    of Uber                                    Y   Y
                          396
      Agreements
      Cherdoud
      Record of Uber      UBER_RAZAK_0014                Misidentified. This is a Sabani
23                                               Y   Y
      Agreements Part     390                            record.
      1
      Cherdoud
      Record of Uber      UBER_RAZAK_0014
24                                               Y   Y
      Agreements Part     415
      2
      Cherdoud
      Signature Page
                          UBER_RAZAK_0000
25    on Operator                                Y   Y
                          1156
      Agreement
      (June 18, 2014)
      Code of             UBER_RAZAK_0015
26                                               Y   Y
      Conduct, 2016       913-15918
      Legal Policy,       UBER_RAZAK_0015
27                                               Y   Y
      2016                919-15931
      Deactivation
                          UBER_RAZAK_0015
28    Policy, April 21,                          Y   Y
                          967-15990
      2016
      Deactivation
                          UBER_RAZAK_0015
29    Policy, July 26,                           Y   Y
                          962-15966
      2016
      Community
      Guidelines,         UBER_RAZAK_0015
30                                               Y   Y
      December 8,         949-15955
      2016
      Community
                          UBER_RAZAK_0010                Incomplete; does not include
31    Guidelines,                                Y   N
                          186                            entire document
      March 23, 2017
      Code of
      Conduct,            UBER_RAZAK_0015
32                                               Y   Y
      October 17,         936-15948
      2017




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      Uber Philly
                         UBER_RAZAK_0010
33    Quality                                     Y   N   FRE 401, 403
                         771-10786
      Playbook
      Uber ADA
                         UBER_RAZAK_0000
34    Policies and                                Y   Y
                         0085-00000090
      Guidelines
      Uber
                         UBER_RAZAK_0000
35    Philadelphia                                Y   Y
                         0567-570
      Airport Policies
      Uber Email
                         UBER_RAZAK_0000
      Regarding                                           Need to break down page ranges
36                       1565-1573, 1592-1602,    Y   N
      Airport Policy                                      into separate exhibits
                         1608-1616, 6433-6436
      Updates
      Uber Email
      Regarding          UBER_RAZAK_0000
37                                                Y   Y
      Empty Sleeping     0283-284
      in Airport Lot
      SKIPPED BY
38
      PLAINTIFFS
      Uber Emails
      Regarding
                         UBER_RAZAK_0000                  Need to break down page ranges
39    Airport Queue                               Y   Y
                         2303-2307, 6437-6441             into separate exhibits
      Phone
      Switching
      Uber Policy
      Reminder
                         UBER_RAZAK00002
40    Regarding                                   Y   Y
                         716-2720
      Atlantic City
      Airport
      Uber Zero
                         UBER_RAZAK00002
41    Tolerance                                   Y   Y
                         056-2063
      Policy
      Uber Safety        UBER_RAZAK00000
42                                                Y   Y
      Policy             614-618
      Amara &            UBER_RAZAK_PL00
                                                          Need to break down page ranges
43    Associates         07058, 7007, 7157,       Y   Y
                                                          into separate exhibits
      Letters            7321, 7220
      Gegen and
      Rasier
      Comments to
      the
44    Pennsylvania       Dkt. 117-16              Y   N   FRE 401; Offer of proof requested
      Public Utilities
      Commission,
      September 26,
      2016




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      Notice of Gegen
      Application as
      Limousine
      Service to
45    Philadelphia      Dkt. 117-17           Y   N   FRE 401; Offer of proof requested
      Parking
      Authority,
      December 29,
      2012
      Letter from
      Philadelphia
      Parking
                                                      Bates range cited contains error.
      Authority to
                        UBER_RAZAK_PL00               Please confirm bates range so we
46    Gegen                                   Y   N
                        00                            can evaluate; offer of proof
      Awarding
                                                      requested
      Certificate of
      Public
      Convenience

                                                      Scope (outside of parties'
      Uber Quality
                                                      stipulation at ECF No. 148), FRE
      Improvement
47                      Dkt. 117-22           Y   N   401-403. Specifically, website is
      Courses
                                                      dated 2/20/18 (outside temporal
      Webpage
                                                      scope)

      Uber Email re
                        UBER_RAZAK_PL00
48    Background                              Y   Y
                        00001
      Check
      Uber Email re     UBER_RAZAK_PL00
49                                            Y   Y
      Cleaning Fee      00173
      Excerpts of       UBER_RAZAK_PL00
                                                      Need to break down page ranges
50    Cherdoud 2014     07409, 7223, 7324,    Y   N
                                                      into separate exhibits
      Tax Documents     73325
      Excerpts of
                        UBER_RAZAK_PL00
51    Cherdoud 2015                           Y   Y
                        07409
      Tax Documents
      Excerpts of
                        UBER_RAZAK_PL00               Need to break down page ranges
52    Cherdoud 2016                           Y   N
                        07411, 7290, 7369             into separate exhibits
      Tax Documents
      Excerpts of
      Luxe Limousine    UBER_RAZAK_PL00
53                                            Y   Y
      2015 Tax          07023
      Documents
      Excerpts of
      Luxe Limousine    UBER_RAZAK_PL00
54                                            Y   Y
      2016 Tax          07052
      Documents
      Excerpts of
                        UBER_RAZAK_PL00
55    Sabani 2014 Tax                         Y   Y
                        00835
      Documents


                                         35
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      Cherdoud
      Gegen Vehicle     UBER_RAZAK_PL00
56                                             Y   Y
      Registration to   00882
      Gegen’s Fleet
      Cherdoud
                        UBER_RAZAK_PL00
57    Gegen Driver                             Y   Y
                        00907
      Certificate
      Gegen and
      Cherdoud
                        UBER_RAZAK_PL00
58    Certificate of                           Y   Y
                        00880
      Liability
      Insurance
      Gegen and
      Cherdoud
                        UBER_RAZAK_PL00
59    Financial                                Y   Y
                        00881
      Responsibility
      Card
      Razak
                        UBER_RAZAK_0010
60    Background                               Y   Y
                        801-10804
      Check
      Sabani
                        UBER_RAZAK_0010
61    Background                               Y   Y
                        826-10829
      Check
      Cherdoud
                        UBER_RAZAK_0010
62    Background                               Y   Y
                        854-10856
      Check
      Communication
                        UBER_RAZAK_0000                Need to break down page ranges
63    s between Uber                           Y   N
                        7851-7935                      into separate exhibits
      and Plaintiffs
                                                       This bates range is a payment
                                                       summary for Cherdoud, not
      Communication
                        UBER_RAZAK_0000                communications between Uber
64    s between Uber                           Y   N
                        7954                           and Plaintiffs. Please confirm
      and Plaintiffs
                                                       which (description or bates range)
                                                       is correct
      Communication
                        UBER_RAZAK_0000                Need to break down page ranges
65    s between Uber                           Y   N
                        8035-8530                      into separate exhibits
      and Plaintiffs
      Communication
                        UBER_RAZAK_0001
66    s between Uber                           Y   Y
                        0177-10179
      and Plaintiffs
      Communication
                        UBER_RAZAK_0010                Need to break down page ranges
67    s between Uber                           Y   N
                        635-10769                      into separate exhibits
      and Plaintiffs
                                                       Need to break down page ranges
      Communication                                    into separate exhibits. This bates
                        UBER_RAZAK_0010
68    s between Uber                           Y   N   range contains documents that are
                        800-10955
      and Plaintiffs                                   not communications between Uber
                                                       and Plaintiffs.


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      Communication
                       UBER_RAZAK_0013                      Need to break down page ranges
69    s between Uber                                Y   N
                       479-13484                            into separate exhibits
      and Plaintiffs
      Communication
                       UBER_RAZAK_0013                      Need to break down page ranges
70    s between Uber                                Y   N
                       492-13493                            into separate exhibits
      and Plaintiffs
      Communication
                       UBER_RAZAK_0013                      Need to break down page ranges
71    s between Uber                                Y   N
                       675-13678                            into separate exhibits
      and Plaintiffs
      Communication
                       UBER_RAZAK_0013                      Need to break down page ranges
72    s between Uber                                Y   N
                       837-13845                            into separate exhibits
      and Plaintiffs

                                                            This bates range is a payment
                                                            summary for Cherdoud, not
      Communication
                       UBER_RAZAK_0014                      communications between Uber
73    s between Uber                                Y   N
                       145-14339                            and Plaintiffs. Please confirm
      and Plaintiffs
                                                            which (description or bates range)
                                                            is correct

      Communication
                       UBER_RAZAK_0014                      Need to break down page ranges
74    s between Uber                                Y   N
                       408-14667                            into separate exhibits
      and Plaintiffs
      Communication
                       UBER_RAZAK_PL00                      Need to break down page ranges
75    s between Uber                                Y   N
                       0001-183                             into separate exhibits
      and Plaintiffs
      Communication
                       UBER_RAZAK_PL00                      Need to break down page ranges
76    s between Uber                                Y   N
                       03789-4934                           into separate exhibits
      and Plaintiffs
                                                            Scope (outside of parties'
      Communication
                       UBER_RAZAK_PL00                      stipulation at ECF No. 148), FRE
77    s between Uber                                Y   N
                       06884-6893                           401-403. Need to break down
      and Plaintiffs
                                                            page ranges into separate exhibits.
      Unredacted
      Versions of
                                                            To be re-evaluated once
      Zendesk
                                                            production is complete and bates
      Communication
                       To be produced by                    numbers are identified by
78    s at issue in                                 Y   N
                       Uber                                 Plaintiffs. Will need to break
      Plaintiffs’
                                                            down page ranges into separate
      Motion to
                                                            exhibits.
      Compel (Dkt.
      155)

      Uber Philly –    UBER_RAZAK_0013                      Need to break down page ranges
79    Big Events &     37, 1522, 1637, 7083,        Y   N   into separate exhibits. In addition,
      News Emails      7162, 7338                           this exhibit is incomplete




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                          UBER_RAZAK_0000
                          0382, 454, 531, 729,
                          868, 972, 1000, 1098,
                          1140, 1242, 1248,
                          1308, 1328, 1344,
                          1355, 1382, 1399,
                          1428, 1437, 1456,
                          1477, 1565, 1592,
                          2213, 2308, 2340,
                          2499, 2544, 2554,                 Need to break down page ranges
      Uber Weekend
80                        2646, 2684, 2771,         Y   N   into separate exhibits. In addition,
      Update Emails
                          2961, 3010, 3286,                 this exhibit is incomplete
                          3494, 3542, 6240,
                          6316, 6385, 6606,
                          6612, 6744, 6839,
                          6967, 7018, 7114,
                          7138, 7162, 7193
                          (note, these bates
                          numbers are only the
                          first number in their
                          ranges)
                          UBER_RAZAK_0000
      Uber Emails
                          1279-1285, 1448-1455,             Need to break down page ranges
81    Regarding Dress                               Y   N
                          1626-1633, 7093-7100,             into separate exhibits
      Code
                          7223-7230, 7402-7408
      Uber Emails
      Regarding                                             This bates range is not about
                          UBER_RAZAK_0000
82    Commercial                                    Y   N   commercial liability insurance, it
                          2240-2241
      Liability                                             is about cancelled trips.
      Insurance
      Uber Emails
      Regarding           UBER_RAZAK_0000                   Need to break down page ranges
83                                                  Y   N
      Cancellation        2240-2241, 2927-2928              into separate exhibits
      Rate
      Uber Email
      Regarding           UBER_RAZAK_0000
84                                                  Y   Y
      Disparaging         2628-2629
      Uber
      Uber Partner        UBER_RAZAK_0000                   Need to break down page ranges
85                                                  Y   N
      Policy Updates      1470-76, 7202-7208                into separate exhibits
      Uber Quality
                          UBER_RAZAK_0014
86    Summary Email                                 Y   Y
                          541-14546
      Template
      Uber Email
      Accepting riders
                          UBER_RAZAK_0014
87    with disabilities                             Y   Y
                          559
      and their service
      animals




                                               38
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      Uber Email
      Please make
      sure you have    UBER_RAZAK_0014
88                                              Y   Y
      your new PPA     719
      sticker by
      October 23
      Uber Email
                       UBER_RAZAK_0014
89    announcing                                Y   Y
                       730-14733
      tipping


      Uber tipping     UBER_RAZAK_0014
90                                              Y   Y
      email            744-14745



      Uber Email                                        This is incomplete (the email
                       UBER_RAZAK_0014
91    Service Fee                               Y   N   identified is three pages and all
                       814
      Refund Update                                     three need to be included).

      Uber Email
      Partner          UBER_RAZAK_0014
92                                              Y   Y
      Performance      827-14831
      Template
      Uber Email
      Regarding New    UBER_RAZAK_0000
93                                              Y   Y
      Deactivation     5799-5801
      Policy
      Uber Emails
                       UBER_RAZAK_0000
      Regarding                                         Need to break down page ranges
94                     1988-1990, 1991-1993,    Y   N
      Expired                                           into separate exhibits
                       1994-1996
      Documents
      Uber Email
      Regarding        UBER_RAZAK_0015
95                                              Y   Y
      Placards and     104
      PPA Inspection

      Screenshots of   UBER_RAZAK_0015
96                                              Y   N   FRE 403
      Webpages         991-15994

      Spreadsheet
      Reflecting
      Sampling of                                       Scope (outside of parties'
                       UBER_RAZAK_0015
97    Philadelphia                              Y   N   stipulation at ECF No. 148), FRE
                       999
      UberBLACK                                         401-403
      drivers
      deactivated




                                           39
      Case 2:16-cv-00573-MMB Document 177 Filed 01/30/24 Page 40 of 55



       Additional
       documents
       regarding
       deactivation and
       suspension of                                        Scope (outside of parties'
98     Philadelphia                                 N   N   stipulation at ECF No. 148), FRE
       UberBLACK                                            401-403
       drivers,
       anticipated to be
       produced by
       Defendants
       Remarks from
       Uber’s Press        https://www.uber.com/
99                                                  Y   N   FRE 403; offer of proof requested
       Call (March 17,     newsroom/press-call/
       2017)
                                                            Scope (outside of parties'
       Razak Pay
                           UBER_RAZAK_0000                  stipulation at ECF No. 148), FRE
100    Statement, July                              Y   N
                           5833-5835                        401-403, offer of proof requested.
       28, 2014
                                                            Incomplete.
                                                            Scope (outside of parties'
       Razak Pay
                           UBER_RAZAK_0000                  stipulation at ECF No. 148), FRE
101    Statement,                                   Y   N
                           3827-3829                        401-403, offer of proof requested.
       March 23, 2015
                                                            Incomplete.
                                                            Scope (outside of parties'
       Razak Pay
                           UBER_RAZAK_0000                  stipulation at ECF No. 148), FRE
102    Statement,                                   Y   N
                           3769-3771                        401-403, offer of proof requested.
       March 21, 2016
                                                            Incomplete.
                                                            Scope (outside of parties'
       Razak Pay
                           UBER_RAZAK_0011                  stipulation at ECF No. 148), FRE
103    Statement, June                              Y   N
                           271-11272                        401-403, offer of proof requested.
       5, 2017
                                                            Incomplete.
       Sabani Pay                                           Scope (outside of parties'
       Statement,          UBER_RAZAK_0010                  stipulation at ECF No. 148), FRE
104                                                 Y   N
       December 16,        334-10335                        401-403, offer of proof requested.
       2013                                                 Incomplete.
                                                            Scope (outside of parties'
       Sabani Pay
                           UBER_RAZAK_0010                  stipulation at ECF No. 148), FRE
105    Statement,                                   Y   N
                           274-10277                        401-403, offer of proof requested.
       March 17, 2014
                                                            Incomplete.
       Sabani Pay                                           Scope (outside of parties'
       Statement,          UBER_RAZAK_0000                  stipulation at ECF No. 148), FRE
106                                                 Y   N
       December 21,        7505-7509                        401-403, offer of proof requested.
       2015                                                 Incomplete.
                                                            Scope (outside of parties'
       Sabani Pay
                           UBER_RAZAK_0000                  stipulation at ECF No. 148), FRE
107    Statement,                                   Y   N
                           7474-7478                        401-403, offer of proof requested.
       March 21, 2016
                                                            Incomplete.
       Sabani Pay          UBER_RAZAK_0000                  Scope (outside of parties'
108                                                 Y   N
       Statement           8531                             stipulation at ECF No. 148), FRE




                                               40
      Case 2:16-cv-00573-MMB Document 177 Filed 01/30/24 Page 41 of 55



       January 30,                                         401-403, offer of proof requested.
       2017                                                Incomplete.
                                                           Scope (outside of parties'
       Cherdoud Pay
                         UBER_RAZAK_0000                   stipulation at ECF No. 148), FRE
109    Statement,                                  Y   N
                         7936-7941                         401-403, offer of proof requested.
       March 10, 2014
                                                           Incomplete.
                                                           Scope (outside of parties'
       Cherdoud Pay
                         UBER_RAZAK_0000                   stipulation at ECF No. 148), FRE
110    Statement,                                  Y   N
                         1666-1668                         401-403, offer of proof requested.
       March 21, 2015
                                                           Incomplete.
                                                           Scope (outside of parties'
       Cherdoud Pay
                         UBER_RAZAK_0000                   stipulation at ECF No. 148), FRE
111    Statement,                                  Y   N
                         1657-1659                         401-403, offer of proof requested.
       March 21, 2016
                                                           Incomplete.
                                                           Scope (outside of parties'
       Cherdoud Pay
                         UBER_RAZAK_0013                   stipulation at ECF No. 148), FRE
112    Statement,                                  Y   N
                         704-13709                         401-403, offer of proof requested.
       March 20, 2017
                                                           Incomplete.
       Razak Trip        UBER_RAZAK_0000
113                                                Y   Y
       Histories         2072, 8305, 14423
       Sabani Trip       UBER_RAZAK_0000
114                                                Y   Y
       Histories         2071, 10799, 14387
                                                           Bates number 14221 is not
                                                           Cherdoud's trip history. Instead,
       Cherdoud Trip     UBER_RAZAK_0010
115                                                Y   N   14221 is the second page of
       Histories         797, 14221
                                                           Sabani's earning statement. No
                                                           objection to Cherdoud trip history.
       Uber Form S-1
       Registration      https://www.sec.gov/A
                                                           Scope (outside of parties'
       Statement, as     rchives/edgar/data/154
116                                                Y   N   stipulation at ECF No. 148), FRE
       filed with the    3151/00011931251910
                                                           401-403; offer of proof requested
       SEC on Apr. 11,   3850/d647752ds1.htm
       2019
       Uber Form 10-K    https://www.sec.gov/ix
       for FY 2019,      ?doc=/Archives/edgar/             Scope (outside of parties'
117    filed with the    data/0001543151/0001      Y   N   stipulation at ECF No. 148), FRE
       SEC on March      54315120000010/fy20               401-403; offer of proof requested
       2, 2020           19q410kfinancialst.htm
       Uber Form 10-K    https://www.sec.gov/ix
       for FY 2020,      ?doc=/Archives/edgar/             Scope (outside of parties'
118    filed with the    data/0001543151/0001      Y   N   stipulation at ECF No. 148), FRE
       SEC on March      54315121000014/uber-              401-403; offer of proof requested
       1, 2021           20201231.htm
       Uber Form 10-K    https://www.sec.gov/ix
       for FY 2021,      ?doc=/Archives/edgar/             Scope (outside of parties'
119    filed with the    data/0001543151/0001      Y   N   stipulation at ECF No. 148), FRE
       SEC on Feb. 24,   54315122000008/uber-              401-403; offer of proof requested
       2022              20211231.htm




                                              41
      Case 2:16-cv-00573-MMB Document 177 Filed 01/30/24 Page 42 of 55



       Uber Form 10-K    https://www.sec.gov/ix
       for FY 2022,      ?doc=/Archives/edgar/             Scope (outside of parties'
120    filed with the    data/0001543151/0001      Y   N   stipulation at ECF No. 148), FRE
       SEC on Feb. 21,   54315123000010/uber-              401-403; offer of proof requested
       2023              20221231.htm
       Documents
       Regarding
       Deactivation
       produced in
                                                           Scope (outside of parties'
       O’Connor v.       UBE-OCO00023792-
121                                                Y   N   stipulation at ECF No. 148), FRE
       Uber              23799
                                                           401-403
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Documents
       Regarding
       Deactivation
       produced in
                                                           Scope (outside of parties'
       O’Connor v.       UBE-OCO00023859-
122                                                Y   N   stipulation at ECF No. 148), FRE
       Uber              23889
                                                           401-403
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Documents
       Regarding
       Deactivation
       and Discipline
       produced in                                         Scope (outside of parties'
                         UBE-OCO00028788-
123    O’Connor v.                                 Y   N   stipulation at ECF No. 148), FRE
                         28822
       Uber                                                401-403
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Documents
       Regarding
       Driver Account
       Waitlisting
       produced in                                         Scope (outside of parties'
                         UBE-OCO00028823-
124    O’Connor v.                                 Y   N   stipulation at ECF No. 148), FRE
                         28837
       Uber                                                401-403
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Documents                                           Scope (outside of parties'
                         UBE-OCO00028838-
125    Regarding                                   Y   N   stipulation at ECF No. 148), FRE
                         28873
       Driver                                              401-403



                                              42
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       Deactivations
       produced in
       O’Connor v.
       Uber
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Documents
       Regarding
       Quality
       Assurance &
       Deactivations
                                                           Scope (outside of parties'
       produced in         UBE-OCO00028874-
126                                                Y   N   stipulation at ECF No. 148), FRE
       O’Connor v.         28907
                                                           401-403
       Uber
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Documents
       Regarding
       Driver
       Suspensions
       produced in                                         Scope (outside of parties'
                           UBE-OCO00028908-
127    O’Connor v.                                 Y   N   stipulation at ECF No. 148), FRE
                           28921
       Uber                                                401-403
       Technologies,
       Inc., No. 3:13-
       cv-03826-EMC
       (N.D. Cal.)
       Accidents –
       Property
       Damage to
       Vehicle                                             Scope (outside of parties'
       Involving Rider     UBER_SAXTON_000                 stipulation at ECF No. 148), FRE
128                                                Y   N
       produced in         6816-6822                       401-403; subject to protective
       Saxton, et al. v.                                   order
       Uber
       Technologies,
       Inc.
       Account
       Inactive
       Knowledge
                                                           Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000                 stipulation at ECF No. 148), FRE
129    produced in                                 Y   N
                           7536-7600                       401-403; subject to protective
       Saxton, et al. v.
                                                           order
       Uber
       Technologies,
       Inc.



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       Background
       Check
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
130    produced in                            Y   N
                           7411-7413                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Begin and End
       Trip Instead of
       Cancel
       Knowledge                                      Scope (outside of parties'
       Base Page           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
131                                           Y   N
       produced in         7162-7170                  401-403; subject to protective
       Saxton, et al. v.                              order
       Uber
       Technologies,
       Inc.
       Not Getting
       Requests
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
132    produced in                            Y   N
                           7255-7269                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Potential Safety
       Concern
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
133    produced in                            Y   N
                           7175-7182                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Substance
       Abuse
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
134    produced in                            Y   N
                           7215-7217                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Verbal                                         Scope (outside of parties'
       Altercation         UBER_SAXTON_000            stipulation at ECF No. 148), FRE
135                                           Y   N
       Knowledge           7252-7254                  401-403; subject to protective
       Base Page                                      order



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       produced in
       Saxton, et al. v.
       Uber
       Technologies,
       Inc.
       Document
       Status Check
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
136    produced in                            Y   N
                           7109-7116                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Earnings
       Amount Review
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
137    produced in                            Y   N
                           7289-7292                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Fare Review
       Knowledge
       Base Page                                      Scope (outside of parties'
       produced in         UBER_SAXTON_000            stipulation at ECF No. 148), FRE
138                                           Y   N
       Saxton, et al. v.   7109-7116                  401-403; subject to protective
       Uber                                           order
       Technologies,
       Inc.
       Feedback About
       Rider
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
139    produced in                            Y   N
                           7097-7108                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Multiple
       Destinations
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
140    produced in                            Y   N
                           6958-6962                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.




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       Cleaning Fee
       Knowledge
       Base Page                                      Scope (outside of parties'
       produced in         UBER_SAXTON_000            stipulation at ECF No. 148), FRE
141                                           Y   N
       Saxton, et al. v.   7190-7202                  401-403; subject to protective
       Uber                                           order
       Technologies,
       Inc.
       Long ETA or
       Pickup Longer
       Than Trip
       Knowledge                                      Scope (outside of parties'
       Base Page           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
142                                           Y   N
       produced in         7308-7320                  401-403; subject to protective
       Saxton, et al. v.                              order
       Uber
       Technologies,
       Inc.
       Missing From
       Trip History
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
143    produced in                            Y   N
                           7507-7535                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Standards &
       Service
       Questions –
       Animals in
       Vehicle                                        Scope (outside of parties'
       Knowledge           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
144                                           Y   N
       Base Page           7342-7353                  401-403; subject to protective
       produced in                                    order
       Saxton, et al. v.
       Uber
       Technologies,
       Inc.
       Upcharge
       Request
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
145    produced in                            Y   N
                           7423-7447                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.




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       Driver
       Cancellation Fee
       Knowledge
                                                      Scope (outside of parties'
       Base Page
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
146    produced in                            Y   N
                           6838-6847                  401-403; subject to protective
       Saxton, et al. v.
                                                      order
       Uber
       Technologies,
       Inc.
       Vehicle
       Solutions –
       Lender and
       Vehicle Issues
                                                      Scope (outside of parties'
       Knowledge
                           UBER_SAXTON_000            stipulation at ECF No. 148), FRE
147    Base Page                              Y   N
                           7372-7380                  401-403; subject to protective
       produced in
                                                      order
       Saxton, et al. v.
       Uber
       Technologies,
       Inc.
       Lowman v.
       Unemployment
                                                      Scope (outside of parties'
       Comp. Board of
148                                           Y   N   stipulation at ECF No. 148), FRE
       Review, 235
                                                      401-403; offer of proof requested
       A.3d 278 (Pa.
       2020)
       People v. Uber
       Technologies,                                  Scope (outside of parties'
149    Inc., 56 Cal.                          Y   N   stipulation at ECF No. 148), FRE
       App. 5th 266                                   401-403; offer of proof requested
       (2020)
       Berwick v. Uber
       Technologies,
                                                      Scope (outside of parties'
       Inc., Case No.
150                                           Y   N   stipulation at ECF No. 148), FRE
       11-46739 EK
                                                      401-403; offer of proof requested
       (CA DLSE June
       4, 2015)
       [CLAIMANT]
       v. Uber
       Technologies,
       Inc., Case No.                                 Scope (outside of parties'
151    5371509 (CA                            Y   N   stipulation at ECF No. 148), FRE
       Unemployment                                   401-403; offer of proof requested
       Ins. Appeals
       Board June 6,
       2015)
       Da Silva v. Uber
                                                      Scope (outside of parties'
       Technologies,
152                                           Y   N   stipulation at ECF No. 148), FRE
       Inc., JAMS Ref
                                                      401-403; offer of proof requested
       No. 1100112429



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       (Arb. Rebecca
       Westerfield July
       25, 2023)


       Matter of
       Lowry, 189                                             Scope (outside of parties'
153    A.D.3d 1863                                    Y   N   stipulation at ECF No. 148), FRE
       (N.Y. Sup. Ct.                                         401-403; offer of proof requested
       App. Div. 2020)
       In the Matter of:
       [CLAIMANT]
       and Uber
       Technologies,
       Inc., ALJ Case
       No. 016-23858
                                                              Scope (outside of parties'
       (N.Y.
154                                                   Y   N   stipulation at ECF No. 148), FRE
       Unemployment
                                                              401-403; offer of proof requested
       Insurance
       Appeal Board,
       Administrative
       Law Judge
       Section June 9,
       2017)
       In Re: The
       Employment
       Status of Uber
       Drivers,
       Advisory            https://www.oregon.go
                                                              Scope (outside of parties'
       Opinion of the      v/boli/about/Document
155                                                   Y   N   stipulation at ECF No. 148), FRE
       Commissioner        s/uber%20advisory%2
                                                              401-403; offer of proof requested
       of the Bureau of    02015.pdf
       Labor and
       Industries of the
       State of Oregon
       (Oct. 14, 2015)
                           https://www.supremec
       Uber BV v.                                             Scope (outside of parties'
                           ourt.uk/cases/docs/uksc
156    Aslam [2021]                                   Y   N   stipulation at ECF No. 148), FRE
                           -2019-0029-
       UKSC 5                                                 401-403; offer of proof requested
                           judgment.pdf
       Ruling by the
       Labour
                           https://www.courdecas
       Chamber of the
                           sation.fr/getattacheddo            Scope (outside of parties'
       Court of
157                        c/5fca56cd0a790c1ec3       Y   N   stipulation at ECF No. 148), FRE
       Cassation on 4
                           6ddc07/1daeef98447aa               401-403; offer of proof requested
       March 2020,
                           d7f497cd80e4c1e75dc
       Appeal no. S 19-
       13.316 (France)




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         Asociación
         Profesional Élite
                             https://eur-
         Taxi v. Uber
                             lex.europa.eu/legal-                  Scope (outside of parties'
         Systems Spain
  158                        content/EN/TXT/PDF/         Y   N     stipulation at ECF No. 148), FRE
         SL, C-434/15
                             ?uri=CELEX:62015CJ                    401-403; offer of proof requested
         (European Court
                             0434
         of Justice Dec.
         20, 2017)
         Uber Fined $649
         Million for
         Saying Drivers
         Aren’t
         Employees,
         Matthew Haag
         and Patrick         https://www.nytimes.c                 Scope (outside of parties'
         McGeehan,           om/2019/11/14/nyregio                 stipulation at ECF No. 148), FRE
  159                                                    Y   N
         NEW YORK            n/uber-new-jersey-                    401, 403, 802; offer of proof
         TIMES (Nov.         drivers.html                          requested
         14, 2019),
         https://www.nyti
         mes.com/2019/1
         1/14/nyregion/u
         ber-new-jersey-
         drivers.html
         State of Alaska
         Press Release,
         Uber Agrees to                                            Scope (outside of parties'
                             https://labor.alaska.gov
         Stop Worker                                               stipulation at ECF No. 148), FRE
  160                        /news/2015/news15-          Y   N
         Misclassificatio                                          401, 403, 802; offer of proof
                             38.pdf
         n in Alaska,                                              requested
         September 3,
         2015

VII.    ESTIMATE OF NUMBER OF DAYS FOR TRIAL.

        Defendants estimate that the trial will last five days and they will need approximately two

days for the presentation of their case.

VIII. SPECIAL COMMENTS REGARDING LEGAL ISSUES, STIPULATIONS,
      AMENDMENT OF PLEADINGS, OR OTHER APPROPRIATE MATTERS.

        A.     Legal Issue Regarding State Law Claims

        The parties have fully briefed Plaintiffs’ request for separate jury instructions with respect

to their federal and state law claims. (See ECF Nos. 151, 157, 159). As outlined therein, Plaintiffs’

requested relief is not appropriate. Instead, as fully briefed before the Court, the jury instructions



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regarding the FLSA, PMWA, and WPCL should be the same and aligned with the FLSA

“economic realities” test.

       B.      Scope of Trial

       Plaintiffs utilized Uber’s ride-sharing mobile phone application to provide “UberBLACK”

transportation services. This trial is limited to the threshold liability question of whether the three

individual Plaintiffs were Defendants’ employees under the FLSA, PMWA, and/or WPCL prior

to January 11, 2018. (ECF No. 148 at ¶ 1). Accordingly, Plaintiffs should be precluded from

introducing any evidence, testimony, or argument concerning information outside the limited

scope stipulated to by the parties, including, inter alia, different geographic locations or markets

(i.e., outside of Philadelphia, Pennsylvania), Uber products (i.e., other than UberBLACK), time

periods (e.g., after January 11, 2018), or other individuals utilizing Uber’s ride-sharing mobile

phone application to provide UberBLACK transportation services, or Plaintiffs’ alleged damages.

See Defendants’ forthcoming Motion In Limine Regarding Scope of the Case.

       C.      Proposed Stipulation

       Many facts relevant to the threshold liability question have already been established as

undisputed during the summary judgment proceedings. See Defendants’ SOF, ECF 66-3 & ECF

114-3; Plaintiffs’ Response to Defendants’ SOF, ECF 80 & ECF117-3. Accordingly, Defendants

proposed that the parties enter a stipulation of facts that are not in dispute that could be presented

to the jury as having been established. In all substantive respects, Defendants’ proposed stipulation

of facts was taken directly from the parties’ prior submissions confirming that the included facts

are undisputed. Defendants: (a) requested that Plaintiffs agree to submit these facts to the jury as

undisputed; (b) invited Plaintiffs to propose modifications; and (c) invited Plaintiffs to propose

any additional facts for inclusion. Defendants anticipate that stipulating to these facts would enable




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the parties to cut back significantly on their proposed presentation of evidence, including witness

testimony and trial exhibits. Unfortunately, Plaintiffs refused to collaborate with Defendants in the

preparation of this stipulation.

       First, Plaintiffs’ counsel wrote: “We're not going to agree to this stipulation. Regardless of

whether facts were disputed or not for summary judgment purposes does not affect whether we

would stipulate to them for trial.” In response, Defendants’ counsel pointed out that Plaintiffs did

not admit to these facts solely “for summary judgment” purposes – they admitted to these facts

unconditionally. See Plaintiffs’ Response to Defendants’ SOF, ECF 80 & ECF117-3. In any event,

Section D(2) of the Court’s Pretrial and Trial Procedures – Civil Cases for dispositive motions

required the non-moving party (in this case, Plaintiffs) to admit whether the stated facts were

disputed or not disputed (with no option for admitting that their statements were not disputed only

for purposes of summary judgment).

       Second, Plaintiffs’ counsel wrote: “I've never agreed to such a lengthy stipulation for trial.

If you want to try drafting something much more brief that both sides may agree to, we will

consider that.” In response, Defendants’ counsel pointed out that the length of the stipulation is

not relevant. The fact that there happen to be a lot of undisputed facts in this case should not make

any difference. Defendants’ counsel proposed that Plaintiffs’ counsel identify which facts listed in

the draft stipulation would be acceptable to include in a “more brief” stipulation.

       Third, Plaintiffs’ counsel complained that Defendants were “paraphrasing pleadings” and

that the proposed stipulation did not include stipulated facts regarding Uber. In response,

Defendants’ counsel pointed out that: (a) the proposed stipulation is not “paraphrasing” pleadings

(rather, it is reciting the parties’ prior agreement that certain facts were undisputed); and (b) the

proposed stipulation does include undisputed facts about Uber (in fact, proposed facts 76 – 114




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were about Uber); and (c) Defendants had invited Plaintiffs to propose modifications to the

statement as well as to include additional undisputed facts (thereby providing Plaintiffs the

opportunity to add other facts about Uber).

        In short, Defendants have attempted to streamline the presentation of evidence at trial by

stipulating to facts that have already been established as undisputed. Unfortunately, Plaintiffs have

been unwilling to collaborate in such efforts. Plaintiffs should be precluded from offering evidence

at trial that contradicts their prior judicial admissions, and the Court should instruct the jury that

these facts have been established as true for purposes of the trial. See Defendants’ forthcoming

Motion In Limine Regarding Admitted Facts.

        D.       Offer of Proof

        Pursuant to Section H(5) of the Court’s Pretrial and Trial Procedures - Civil Cases, if any

party desires an “offer of proof” as to any witness or exhibit expected to be offered, that party shall

inquire of opposing counsel prior to trial for such information. On January 22, 2024, Defendants

requested an offer of proof as to the following witnesses identified in Plaintiffs’ pretrial

memorandum and witness list:

            Tara Murray
            Uber Keeper of Records
            Drew Holland
            Dimitry Cohen
            CJ Stavrakos
            Martin Rufo
            Other UberBLACK drivers who worked in the Philadelphia market between 2013 and
             2018 and who were deactivated or suspended

On January 22, Defendants also requested an offer of proof as to the following exhibits identified

in Plaintiffs’ exhibit list:

            44 (Gegen and Rasier Comments to the Pennsylvania Public Utilities Commission,
             September 26, 2016)




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          45 (Notice of Gegen Application as Limousine Service to Philadelphia Parking
           Authority, December 29, 2012)
          46 (Letter from Philadelphia Parking Authority to Gegen Awarding Certificate of
           Public Convenience)
          99 (Remarks from Uber’s Press Call (March 17, 2017))
          100-112 (Pay Statements)
          116 (Uber Form S-1 Registration Statement, as filed with the SEC on Apr. 11, 2019)
          117 (Uber Form 10-K for FY 2019, filed with the SEC on March 2, 2020)
          118 (Uber Form 10-K for FY 2020, filed with the SEC on March 1, 2021)
          119 (Uber Form 10-K for FY 2021, filed with the SEC on Feb. 24, 2022)
          120 (Uber Form 10-K for FY 2022, filed with the SEC on Feb. 21, 2023)
          148 (Lowman v. Unemployment Comp. Board of Review, 235 A.3d 278 (Pa. 2020))
          149 (People v. Uber Technologies, Inc., 56 Cal. App. 5th 266 (2020))
          150 (Berwick v. Uber Technologies, Inc., Case No. 11-46739 EK (CA DLSE June 4,
           2015))
          151 ([CLAIMANT] v. Uber Technologies, Inc., Case No. 5371509 (CA
           Unemployment Ins. Appeals Board June 6, 2015))
          152 (Da Silva v. Uber Technologies, Inc., JAMS Ref No. 1100112429 (Arb. Rebecca
           Westerfield July 25, 2023))
          153 (Matter of Lowry, 189 A.D.3d 1863 (N.Y. Sup. Ct. Div. 2020))
          154 (In the Matter of: [CLAIMANT] and Uber Technologies, Inc., ALJ Case No.
           016-23858 (N.Y. Unemployment Insurance Appeal Board, Administrative Law Judge
           Section June 9, 2017))
          155 (In Re: The Employment Status of Uber Drivers, Advisory Opinion of the
           Commissioner of the Bureau of Labor and Industries of the State of Oregon (Oct. 14,
           2015))
          156 (Uber BV v. Aslam [2021] UKSC 5)
          157 (Ruling by the Labour Chamber of the Court of Cassation on 4 March 2020,
           Appeal no. S 19-13.316 (France))
          158 (Asociación Profesional Élite Taxi v. Uber Systems Spain SL, C-434/15
           (European Court of Justice Dec. 20, 2017))
          159 (Uber Fined $649 Million for Saying Drivers Aren’t Employees, Matthew Haag
           and Patrick McGeehan, NEW YORK TIMES (Nov. 14, 2019))
          160 (State of Alaska Press Release, Uber Agrees to Stop Worker Misclassification in
           Alaska, September 3, 2015)

To date, Plaintiffs have not provided the requested offer of proof as to these witnesses and exhibits.




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Dated: January 30, 2024               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of January 2024, Defendants’ Pretrial Memorandum

was filed using the Eastern District of Pennsylvania’s ECF system, through which this document

is available for viewing and downloading, causing a notice of electronic filing to be served upon

all counsel and parties of record.


                                                    /s/Robert W. Pritchard
